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                          U N IT ED ST A T ES D ISTR IC T C O U R T
                          SO U TH ER N D IST R IC T O F FLO R ID A

                              CivilAction No.9:16-cv-8006()-M AR R A

   BRAN D ON LEID EL,and
   M ICHAEL W ILSON ,individually,
   and on behalfofa1lotherssim ilarly
   situated,

          Plaintiffs,



   PRO JECT IN VESTO RS,IN C.d/b/a CRY P'I'SY .
   a Florida corporation,
   PA U L VERN ON ,an individual,
   LORIE A N N N ETTLES,an individual,
   RID GEW O O D IN V ESTM EN TS,IN C.,
   a N ew Jersey corporation,and
   K A USHA L M A JM U DA R,individually'.

         D efendants.


          FINA L O R DER A PPR O V IN G SETT LEM F,N T,A PPR O V IN G PRO PO SED
       A LLO C AT IO N O F SETT LE M EN T FUN DS,.
                                                 & PPItIIV IN G C LA SS CO UN SEL 'S
    A PPLIC A TIO N FO R A TTO R N EY S'FEE S,EX PEN SF-S AN D INC EN TIV E A W A RD S
               FO R C LA SS RE PR ESENT AT IV ES,A ND FIN AL JUD G M EN T

         TH IS CA U SE com es betbre the Courtpursuantto the Plaintiffs'M otion for Approvalof

  Class Action Settlement gDE            and M otion fol'Attorney's Fees,Expenses and Service


   1091,Plaintiffs' Response to the Objections IDE
  otherwise fully advised in the prem ises and entersthe l'
                                                          ollouving O rder.

         L BAC K G RO UN D

         Thisnationw ide class aetion is broughtby làlaintiffs. individually and on behalfofa class

  of similarly situated users (the w-class M el-nbers--l      I'rojee.t lnvestors,lnc..d/b/a Cryptsy
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   (-'Cryptsy''). Plaintiffs alleged that the Defendant Crl'ptsy and Det-
                                                                        endant Paul Vernon
   (-'Vernon'')(Cryptsy and Vernon collectivelj,refkrred to herein asthe û-cryptsy Defendants'')
   operated an online business for generalconsum ers and the ptlblic to exchange,invest,and trade

   in digital cryptocurrencies. Plaintiffs seek dam ages based upon the unlaw ful conduct of the

   Cryptsy Defendants in denying accountholders the ability to obtain funds in their accounts and

   in m isappropriating funds held in the Cryptsy accotlnts.

          The principal detkndant,V ernon - the m asterm ind of the fraud and theft of the Class'

   cryptocun-ency according to Plaintiffs-allegations -lèas fled the cotlntry,is presently believed to



   U nited States.

          OnJanuary 13,2016,Plaintiffsinitiated thisclassaction.LDL'11.On February 22,2016,
   Plaintiffs filed an Amended Connplaint.asserting elailus for conversion,negligence,unjust
   enrichm ent, specific perform ance, violation of Florida-s Deceptive and U nfair Trade Practices

   Act,preliminaryandpermanentinjtlnction,fratrdulentconveyanceandconspiracy.gDE 8j.


   Ckfailure to appear, answ er, or otherw ise plead to the com plaint tiled herein w ithin the tim e

   requiredbylaw.'' gDE 251.On May20,2016.aClerk-sDefablltwasenteredagainstDefendant
   Vernon forhis éèfailure to appear,answ er,01'otherw ise plead to the com plaintfiled herein w ithin

   thetimerequiredbylaw'.'-LDLC
                              .5lj.
               April 4, 2016. the Court grallted 1)lailptil-l-
                                                             s- N1otion      A ppoint Receiver and

   appointed Jam es D . Sallah, Esq.as the Receiqvel'Corporate M onitor over Defendant Cryptsy.

   LDE 331.
          On July27,20l6,Plaintiffst51edan Unopposed M otion forClassCertification.gDE 591.
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   On Au      25,2016,the Court granted the M otion tbrC'la% Certiûcation,certifying the follow ing

  class:

           A ll CRYPTSY account ow ners w ho held Bitcoins. alternative cryptocurrencies,
           orany other form of m onies orcurrency atC RY PTSY as ofN ovem ber 1,20l5 to
           the present.Excluded from the Classare:(1)em ploqveesofCRYPTSY,including
           its shareholders.officers and directorsand mcm bersoftheir imm ediate families;
           (2)anyjudgetowhom thisactionisassigned and thejudge-simmediate family;
           and (3)personswhotimelyandN'alidly optto excludethemselvesfrom theClass.
   gDE 651.TheCourtalsoappointedBrandon Liedeland MiclnaelW ilson asClassRepresentatives
  and appointed M arc A .W itesand W ites & Kapetan-IA.A .and ScottL.Silverand D avid C.Silver

  of SilverLaw G roup as Class Counsel./J.

           O n A ugust l5,20l6,Class Representatives.the Receiver,and D efendantN ettles attended

  mediation before Judge Howard rl'escher (ret.).atuvllicln the),reached an agreem entto resolve
  Plaintit-fs' and Receiver's claim s against Defbndant N ettles.'lahat agreem ent w as subsequently

  docum ented by the N ettles Settlem entA greem ent.

           O n October 27, 2016, the Court entered an order granting prelim inary approval of the

  NettlesSettlementAgreement.1gojjig4j.
           O n N ovem ber l7,2016-Plaintit-
                                          fs and the Iteceiver attended a second m ediation before

  Judge Howard Tescher(ret.)with two parties thatPlailatifl-
                                                           sintended to add,buthad notyet
  added,to the case,to u,
                        '//:Ridgewood Investments.lnc.(--ltidgewoodh-)and Kaushal(ttKen'')
  Majmudar(ûtKM''). Atthemediation-the partiesreached :
                                                      4settleluentto resolvetheclaimsof
  Plaintiffs, the Class, and the Receiver. against Ridgew ood and KM        .   That agreem ent w as

  subsequently docum ented by the Ridgew ood Settlem ent A greem ent.w hich has now been fully


  l        O n N ovem ber 28.20 16.the Court entered :414 order setting the date for the finalapproval
  hearing asto theNettles SettlementAgreementforApril2l.2017 LD'
                                                               E 851.Thishearingdate
  w as continued at the reqtlest of Plaintiffk as a result o(-the subsequently entered Ridgew ood
  Settlem entA greem ent,and ultim ately scheduled for.and held 014.June 2,2017.
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   executed,w ith the lastsignatory siglling the docunAenton January 4.20l7.2

          Pursuant to Section lll(B) ()f the Ridgewooûl Settlel-nentAgreem ent,Plaintiffs sought

   leavetot51eaSecondAmendedConlplaint.LDiI891.'I'l
                                                  1eCourtgrantcdthemotiononJanuary 9,
                                                                                          gDE 941.The
   Seeond A m ended Com plaintnam es Ridgew ood and K M as defendants,and adds one additional

   countforunjustenrichmentwhich ispleadagainst0141)'RidgewoodandKM .
          O n January 23, 2017. Plaintiffs tiled their lllotion fbr prelim inary approval of the

   Ridgewood SettlementAgreementI1)17,981.which soughtto combinetheclassactionsettlement
   approval process for both the Nettles Settlem ent A gl'eem ent and the Ridgew ood Settlem ent



          O n January 31, 2017, the Court prelim inarily approved the R idgew ood Settlem ent

   AgreementgDE 1001(ktpreliminary ApprovalOrder'-).'l-heCourtfurtherorderedthattheNettles
   and Ridgew ood Settlem ent A greem cnts be treated as olpe for the purposes of notice and claim s

   adnn1n1
         -stration.

          The Ridgewood Agreement (as did the Nettles SettlementAgreement) provided that
   Class Representative and the Settling D el7
                                             endants3 supported the Settlem ent and that Class

   Representatives and Class Counselbelieve-in view ot'the costs,risks,and delays of continued

   litigation and appeals balanced against the benetsts 01-settlem ent to Class M em bers, that the

   Settlem ent is in the best interest of the C lass M elubers and is a fair,reasonable, and adequate

   resolution ofthe law suit.

          The prelim inarily eertit-ied class wasdelsl4ed to be:
   ?                                                ''
          AttheNovember22,20l6 StatusConlelence lDIL'
                                                    .83I.ClassCounseland theReceiver
   advised the Coul'
                   tofthe Ridgew ood Settlem entA greeluelèt.
   ?
   '
          As used herein, the terl'
                                  n --tl4e Settling llet-
                                                        elldants--l'
                                                                   lleans D efendants Lorie A nn N ettles;
   Ridgewoodlnvestments,Inc.,
                            'and KaushalMqjlnudar
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         A 1lCryptsy accountholders w ho held Bitcoins. alternative cryptocurrencies,orany other
         fonn of m onies or currency at Cryptsy atanl'pointin tim e betw een N ovem ber 1, 2015
         and thepresentdate -Excluded from the Class are:(1)employeesofCryptsy,including
         its shareholders,ofticers and directors and m cm bers oftheirim m ediate fam ilies,'(2)any
         judgeto whom thisactionisassigned and thejtldge-simmediatefamily'
                                                                         ,and (3)persons
         who tim ely and validly optto exelude them sel:es l-
                                                            rom the Settlem entClass.

   (t-classM embers'').
         The Settlem ent provides relief to all (7ryzptsl' aeeount owners who held Bitcoins,

  alternative cryptocurrencies,orany otherform 01'm onies 01,ctlrrency atCryptsy as ofN ovem ber

   1,20l5,through June 2, 2017,and who are tlnable to aceess their cryptocurrency. Excluded

  from theClassare:(1)employeesofCryptsy-inclttding itsshareholders,officers,anddirectors
  and membersoftheirimmediatefamilies-
                                     '(2)anyjbldgeto u'hom thisaction isassigned and the
  judge'simmediate family;and (3)personsuho timely and validly optto exclude themselves
  from theClass.@DE 651.
         The Settlem ent Fund includes the follou ing asscts thathave been liquidated,or are in the

  processofliquidation'
                      .

             A diamond ring obtained from IlelkndalltNettles.gDE 73-1 (kkNettles Settlement
             Agreement'') at Sections l1(A)(1) :11
                                                 -1t.
                                                    1 IlI1.-f vl'1'
                                                                  1e estil-nated value of the ring is
             $35,000.

             RealProperty obtained from DefendantN'ettles.gl)F-73-1 atSections 11(A)(2)and
             1l1(B)-(I)j.Asto the Property.the prinaarl'componentofthe SettlementFund,itis
             currently under contract to be sold 1-01.$1-150.000 in a sale adm inistered by the
             Receiver. The anticipated closing date is Junc 30-2017.

             A l1m onies received from the sale of the cryptocurrency m arshalled by the Receiver
            and as initially described in Second ReportofReceiverJamesD.Sallah (DE 60),
            whichtotals$394,500.Lfllc ''73-1atSection I1(A)(3)1.
         4. A l1 m onies received from the sale of personal property m arshalled by the Receiver
            and as initially described in Second Reporto1-ReceiverJames D.Sallah (DE 60),
            which isexpectedtototal$4.000.gl-  ll-t73-1atSection l1(A)(4)1.

  4 The N ettles Settlem entA greem entprovides thatthe ring can bc sold tlpon finalapprovalofthe
  Settlem ent.See Settlem entA greem entatllIA .
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             Allmoniesreceived frol'
                                   nthesaleot-an lnlsnitiQX60-asdetailedintheReceiver's
             M otionforAuthorityto l-iquidatelntsnitiQX60 g.
                                                           q'ozt.
                                                                ,1'
                                                                  )E 641,whichtotals$27,000.
             gDE 73-1atSection 11(A)(5)1.
             Two HundredandTwenty'l-housandDollars($220.000)contributedbyDefendant
             Ridgewood. gDE 96-1('tlkidgewood SettlementAgreement'')atSection1111.
          ln exchange for the relief provided by the Settlem ent.m em bers of the Settlem ent Class

   willrelease and discharge only the Settling llejkndantsti-om allclaim s,defenses,obligations,or

   dalnagesthatw ere or could have been sotlghtin this litigation or thatrelate,concern,arise from

   or pertain in any way to Settling                                                 concerning or



   DE 96-latSectionVll11.TheSettlementspecilicalll'excludestheCryptsyDet-
                                                                        endants.
          W ith regard to the class notice and claim form reqtlired by the Ridgew ood A greem ent,

   the Courtis inform ed ofthe follow ing:

                 the Claim s Adlzzinistratorel-
                                              nailed and nlailed the notice on February l6,2017,
                                                                                               '

                 tw o ClassM em bers opted outo1'the Class:

                 tw o Class M em bersexcluded them selx'k
                                                        cs t-
                                                            rom the case;and

                 two Class M embers tinAely objectcd to the proposed Settlement gDE 107 and
                  108j,butpriortotheJune2-2017l-  airnesshearing withdrew suchobjections,and
                 oneClassM embert' iledalate.untinnell'objection IDF-l091.


          ln com pliance w ith the Prelil-
                                         ninarj' Approval           and Ridgewood and N ettles

   Settlem entA greem ents,the Claim s A dm inistrator-on behalf ofPlaintiffs,provided notice ofthe

   proposed classaction settlementpursuantto the Class Action FairnessAct,28 U.S.C.j 1715
   (i:CAFA''),totheappropriatestateand federaloflscialsbl'lettersdated January 20,2017. (DE
   1l0-4atT41.
          Given the foregoing,Plaintillk stipulated and agrecd to the dismissalwith prejudice of
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  theirclaimsagainstthe Settling Defendants-individuttlll'and asclassrepresentatives,subjectto
  thisCourt'sfinalapprovalofthe proposed Class Actikln Settlelment.
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          II.LEG A L STA ND A R D

          To approve a class aetion settlcln-lent-the trialcourt1-1411steA'aluate w hether the settlem ent
                                                                       .




   kûisfair,adequate and reasonable and isnottl4k)produetot'ctllltlsiolnbetw een the parties.''Bennett

   v.Behring Corp.,737F.2d 982-986(llth Cir.1984).Inevaluating whetherthesettlementisfair
   and reasonable,thetrialcourtappliesthe following factors:(1)the likelihood ofsuecessattrial'
                                                                                              ,

   (2)the range ofpossible recovery;(3)the pointon 01'below'therange ofpossiblerecovery at
  whichasettlementisfair,adeqtlateandreasonable;(4)tlleeomplexity,expenseandduration of
  litigation;(5)the substance and amountofopposition to the settlement;and (6)the stage of
  proceedings atw hich the settlem entwasachieNred..
                                                   J?c,7?F?c?//.737 F.2d at986.
                                                        .




          In conducting the analysis.the trialcourt''oughtnotto try the ease during the settlem ent

  hearing and should behesitantto substitutehisorherjudglmenttbrthatofeounsel.''Allapattah
  Servs.Inc.v.Exxon Corp..No.91-cv-0986,2006'
                                            hVI-1132371.at*19(S.D.Fla.April7,2006)
  (citingInreSmith,926 F.2d 1027-1028-29 (l1thCir.1991)):-V//-?//?&v.Am.EquityInv.Li
                                                                                   feIns.




          111. THE PROPO SED SE'FTLEM ENT IS FAlIt,ADEQUATE AND
                 R EA SO NA BL E

          The CourthasJ'urisdiction overthe subjekltmatter ofthe lawsuitand overallsettling
  parties hereto.The Court tinds,to the extent not already addressed in the order granting class

  certitication entered on Augtlst25,2016 ID1):
                                              '6515thattlèisClassaction satisfiestheapplicable
  prerequisites for class action treatl-nent for settlel-
                                                        ncnt purpostls under Fed. R.Civ.P.23(a)and

  (b)(3),namely,

  5      The Court's t'indings ot'faet and conclusions 01-lau'set forth in the August 25,2016
                                                                   '


  Order Granting C lass Certifscation are incorporated herein as to the Ridgew ood Settlem ent
  agreem entand the claim sagainstD efendantR idgew ood lnvestm ents. Inc.andKenM ajmudar.

                                                    8
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                 TheClassmembersare so nul
                                         n-
                                          lel-oustlpatjoindero1-allofthem in thelawsuitis
                 im practicable.

                 There are questions oflaw and l-
                                                actcom l-
                                                        non to the ClassM em bers.

                 Plaintit-fs'claim s arc typicalofthe Class M ennbcrs-clainqs.



                 Class treatm ent ol- these claim s u i1l be etxlscient and m anageable, thereby
                 achieving an appreeiable measure 01-jtldicialeconomy.and a class action is
                 superiortotheotheravailablemethods1- 01*afairandefticientadjudication ofthis
                 controversy.

         TheCourtalso tindsthattheclassnotice tktllq'satistsesthe l'equirementsofRule23(c)
  and due process.

         Further,considering the Bennellfaetors sct forth aboA'e,the Courtt-
                                                                           inds the settlem ent is

  fair,adequate and reasonable and in the bestinterestoftlce C lass M em bers,especially in light of

  thebenefitstoClassMembersof,among otherthings.thtlvastmajorityofthesettlementfundis
  com prised of m onies and assets obtained from partics other than Cryptsy and V ernon; the

  col-
     nplexity,expense and probable dulution of further litigation'
                                                                 ,the risk and delay inherent in

  this Class A ction including possible appeals:and the risl
                                                           k associated w ith trial,pa/icularly given

  that the m ain defendant Vernon.has tled the country: and the lim itcd am ount of any potential

  totalrecovery forthe Class.

         N O W ,T H ER EFO R E,aftcr due deliberation,IT IS O R D ER ED ,A D JUD G ED AN D

  DEC REE D that:

                 Thisjudgment(thew-classJudgl-nent--)inctlrporatesbyreferencethedefinitionsin
  the N ettles and R idgew ood Settlel-
                                      nentA greennents.al'
                                                         ld :111capitalized term s used in this Class

  Judgm entthatare nototherw ise detined herein shallhave the sam e m eanings as set forth in the

  N ettles and Ridgew ood Settlem entA greem ents.
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                  ThisCouf'
                          thasjtlrisdiction overthe subiectmatterofthisClassAction and over


                       notitscation provided        and given to the Class com plied w ith the

   Prelim inary Approval Order, and said notitication constituted the best notice practicable under

   the cireum stanees and fully com plied w ith thkl notice requirem ents of Rule 23 of the Federal

   RulesofCivilProcedure,and due process.

                  Excluded from the C lass are those proposed C lass m em bers who properly

   excluded them selves by subm itting a N'alid and tim ell'requcst for exclblsion in accordance w ith

   the requirem ents assettbrth in the Notice.

                  The proposed Settlem ento1'the Class A ction on the term s and conditions setforth

   in the N ettles and Ridgew ood Settlenaent A greeluents is in a1l respects fair, reasonable and

   adequate,in lightof the benetits to the C lass,the com plexitl'.expense and possible duration of

   further litigation against the Settling Detkndants and the risks of establishing liability and

   dam ages and the costsofcontinued litigation. 'l-his Courtfurther tinds the Settlem entsetforth in

   the N ettles and R idgew ood Settlem ellt Agreelnents is tlne result of arm 's-length negotiations

   between experienced counselrepresenting the interests 01-Class Reprcsentatives,the Class and

   the Settling D et-
                    endants.

                 The Court tsnalll'approNres the Nettles and Ridgew ood Settlem entA greem ents in

       respects and finds that the Class Settlem ent. the N ettles and Ridgew ood Settlem ent

   A greem ents, and the plan of allocation and distribtltion       set forth in Section V I of the

   respective A greem ents are,in allrespects.fair-reastlnable and adeqtlate,and in the bestinterest

   ofthe Settlem entClass.
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                 The Courtlaasconsidered a1lofthe factorsenumerated in Fed.R.Civ.P.23(g)
   and finds that Class Counsel have fairly and adequatclq' represented the interests of the

   Settlem entClass.

                 The N ettles and Ridgewood Settleluent A greem ents shall be consum m ated in

   accordance w ith the term sand provisions o1'those A grcem cnts.

                 Although the objectors vvho l'
                                              iled timely objeetions to the Settlementwithdrew
   suchobjectionspriortotheJune2.2017 fairnesshearing,theCourtnonethelessconsidered those
   objeetions.                                                                               Forthe
                                                               the Court overrules all of the tiled

   objections.
                 Upon the Effective Date (term det-
                                                  ined at 73-1(1)(M ) and 96-1(I)(L)),Class
   Representatives,each and every other C lass Y
                                               ''
                                                lem ber on behalf ofthem selves,and each of their

   respective heirs, executors, trustecs-adm inistrators-predecessors.successors and assigns,shall

   be deem ed to have fully and foresrerreleased.rcm ised.acqtlitted,and discharged each and every

   one ofthe Released Claim s againsteach and eN'ery one ol-the lteleased Parties and shallforever

   be barred and enjoined from commencing,instittlting,prosecuting ormaintaining any ofthe
   Released Claim s againstany ofthe Settling Defendants.

                 Upon the                                         the Class A ction, the Settling

   Defendants- on                                             respcctive heirs, executors, trustees,

   adm inistrators,predecessors.successorsand assignsb)'operation ofthe ClassJudgm ent,shallbe

   deem ed to have fully,tsnally and foreNeer w aiq'
                                                   ttd.relcased,discharged and dism issed each and

   every one of the Settling Defendants' Claim s. as against eacl: and every one of the Released

   Plaintiff Parties and shall foreNrer be barred and enjoined l-
                                                                rom commencing, instituting,
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   prosecuting or m aintaining anl'ot-the Settling llefendants- Claim s against any of the Released

   PlaintiffParties.



   Class Proofof Claim ,is bound b),
                                   'this ClassJudgl-
                                                   nent.including.w ithoutlim itation,the release

   ofclaim s as setforth in the N ettlesand Ridgew ood Scttlem entAgreem ents.

          14.     N o C lass M em ber shallhave againstClass Counsel.C lass Representatives or the

   Receiverany claim based on the N ettlesor Ridgewood Settlem entAgreem ents,any action ofthe

   Receiver, or a distribution lmade substantially in accordancc w ith the N ettles or Ridgew ood



                  This Class Judgm ent.and an).
                                              'negotiatiolls.proceedings or agreem ents relating to

   the N ettles and Ridgew ood Settlem entA greem ents.tlltl Settlem ent-and any m atters arising in

   connection with settlem ent negotiations- prklccedings. or agreem ents, shall not be offered or

   received againstthe Settling D elbndants.Class ltepl'eselltatiN'es or the Receiver for any purpose,

   and in particular'
                    .



   Defendants as evidence of, or constrtled as. or deelued to be evidence of any presum ption,

   concession or adm ission by the Settling D etkndants u'
                                                         ith respectto the truth of any factalleged

   by Class Representatives and the Class orthe Receiverorthe validity ofany claim thathas been




   D etkndants;

                  (b)    do notconstittlte.and shallnotbt)oflkred orreceived againstthe Settling
   D et-endants as evidence            presulnption- concession          adm ission       any fault,
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   m isrepresentation or om ission w ith respeet to any statcm ent or w ritten docum ent approved or

   m ade by the Settling Defendants-01-against Class Representatives or any otherm em bers of the



   otherm em bersofthe Class orthe Receiver-
                                           '

                         do notconstitttte.and shallnotbkloflkred or received againstthe Settling

   Defendants or against Class Representatives or any other m elnbers of the C lass,or againstthe

   Receiver,as evidence of a presum ption,concession 01'adm ission w ith respect to any liability,

   dam ages, negligence,fault, infirl-
                                     nity or w rongdoing. ol-in any way referred to for any other

   reason againstany of the Parties to this N ettles and Ridgew ood Settlem entA greem ents,in any

   othercivil,crim inalor adm inistrative aetion or proceeding.other than such proceedings as m ay

   be necessary to effectuate the provisionsot-the Nettles and R idgew ood Settlem entA greem ents-
                                                                                                  ,

                 (d)         not eonstitute,        shall          construed against the Settling
   D et-
       endants,C lass Representatives 01-any otherl'
                                                   nem bers ofthe Class.oragainstthe Receiveras

   an adm ission or concession that the consideration to be giA'el:hereunder represents the am ount



                         do notconstitute.and shallnotbt?constrtled as orreceived in evidence as,

   an adm ission,concession or presum ption againstClass Representatives 01*any other m em bersof

   the Class or against the Receiver that any o1-their claim s are w ithout m erit or infilnn or that

   dam ages recoverable under        Com plaint would not has'e exeeeded the Settlem ent Fund

   Alrount.

                 The adm inistration 01-the SettlenRent-alld the decision o1-alldisputed questionsof

   law and fact with respectto the validitl'ol-an).claim 01-rightof any Person to participate in the

                                                                                            Plaintiffs
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   and the Receiver are directed                                    the liquidation of all assets that

   com prise the SettlelnentFund is com plete as to the results 01-sklch efforts and the distribution of



                  In the eventthatthe Scttlem cntdoes notbeeom e effective in accordance w ith the

   term s ofthe N ettles and Ridgew ood Settlem entA greem ents-then this Class Judgm ent shallbe

   rendered null and void to the extent provided by alld in accordance w ith the N ettles and

   Ridgew ood Settlem ent Agreem ents and shall be vaeatcd'
                                                          . and in such event,allorders entered




          l8.     W ithoutfurtherorder ofthe Cotlrt,the làartiesm ay agree to reasonable extensions

   oftim e to can-y outany ofthe provisions ofthe N ettlesand Ridgew ood Settlem entA greem ents.

          l9.     Plaintiffs'requestto acceptand process late l5led Recognized Claim sisgranted.

          20.     The Parties are hereby directed         consum m ate the N ettles and Ridgewood

   Settlel
         zlentA greem ents and to perform itsterm s.

                  C lass Counsel have l
                                      'noNved

   attorneys'feesand reimbursenlentofexpenses. Pursuantto Rules 23(h)(3),thisCourtgrants
   ClassCounsel'srequestand m akesthe follou.ing tsndillgsoffactand conclusions oflaw :

          (a)     the Class Settlel-
                                   nent confers substantial benelsts on the Settlement Class
   M em bers;

                  the value conferred on the Settlem entC lass is im m ediate and readily quantifiable

   upon thisClassJudgm entbecom ing Final(asdetsned in theAgreel-nentl;
                  Class Counselvigorousll'and et-
                                                lbctisrell'pursued the Settlel-
                                                                              nentClass M em bers'

   claim sbefore thisCourtin thisconnplex case:
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                 the ClassSettleluentw as obtained as a directresult01-ClassCounsel's advocacy'
                                                                                              ,

                 the Class Settlem entw as l'eached lbllouring extensiN'e negotiation betw een Class

   Counseland Class Counselforthe Settling D efkndants.and u as negotiated in good faith and in

   the absence ofcollusion:

                 during the prosecution ol'the              the lt-itigation, Class Counsel incurred

   expenses at least in the anAountof$l5.630.85.which incltlded costs for expert witnesses and
   other expenses which the Courttinds to be reasonable and necessary to the l-epresentation ofthe

   SettlelzlentClass;

                 Settlem ent Class M em bers w ere adsrised in tlle Class N otice approved by the

   CourtthatClass Counselintended to apply lbran aual'd to be paid l-
                                                                    rom the Settlem entFund of

   attorneys'feesin the am ountof33.330/: ofthe Settlem entl7tlnd less the al-nountofattorney's fees

   aw arded to the Receiver.plus reim bursenaentof reasonable costs and expenses incurred in the

   prosecution ofthe Litigation;

                 counselw ho recovera conal-
                                           non benefst1-
                                                       01-personsotherthan him selforhis client

   is entitled to a reasonable attorneys'lk-e from tlle Settlem ent lfund as a w hole.See,e.g.,Boeing



          (i)    therequested fee award isconsistentïï'ith otllertbe awardsin thisCircuit. See




                                                                1/'
                                                                   %$),
                                                                ,..3  .Iklpken v,Brown,No.90-691-

   CIV-M ARCUS,1992U.S.Dist.LEXIS 1l744 (S.l).l'la.Yla1'.13,1992)(331$)'
                                                                       ,
          (j)     Class Counselhave redblced their attornel'-s lbe application such thatthatthe
   am ountCo-lwead Counselseeks in attorney-s fees-wlltlll eoupled urith the attorney's fees sought
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                                                                  (-
                                                                   .ivilActionNo.9:l6-cv-80060-MARRA


   by the Receiver and Receiver's Counsel.w illllotcatlsc the totalam ountofattorney's fees paid



                 Accordingly,ClassCotlnselare llel-ebl'awarded astheil-lke award 33.33% ofthe

   Settlem entFund less the am ountofattorney-s l-
                                                 ees paid to the Receiver,w hich the Courtfindsto

   be fair and reasonable,and w hich am ount shallbe paid to Class Counsel from the Settlem ent

   Fund in accordance w ith the term s of the Settlem ent A grcem ents. l'urther, Class Counsel are

   hereby awarded $15,630.85 fortheirexpcnses wllich thc Coul'tfinds to be fairand reasonable,



   the term s of the A greel-
                            nent. C lass Ctltlllselshallbe responsible tbr allocating and shallallocate

   this award of attorneys'lkes,costs.and expenses tlnat are aw arded am ongst and betw een Class

   Counsel.

          23.     The C lass Representatisres,as identilicd in the Prelim inary Approval O rder,are



                                                           regarding the am ount of Class Counsel's

   attorney's tkes, as well as the distribution of the N et Settlem cnt Fund,after the Receiver and

   Class Counselcom plete the liquidation and sale ofa1lassets thatcolnprise the Settlem ent Fund.

   Such orders shall in no way disturb or at-
                                            fect tllis Class Jtldgl-nent and shall be considered

   separate from this Class Jtldglment.

                                                                                                Coul

   hereby retains continuing jurisdiction ovcl-:        innplcnnentation of the Settlement-
                                                                                          , (ii) the
   allowance,disallowance oradjustl-
                                   nentofanl'ClassNlennber-sclainnon eqtlitable groundsand
   anyaward ordistributionoftheSettlementl'
                                          -und:(iii)disposition oftheSettlementFund;(iv)all
   Parties fbr the purpose ofconstruing-enfbrcing alpd adluinistel'ing the Settlem entand this Class
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                                                             C'ivilActionNo.9:16-cv-80060-M A RRA


  Judgment;and(vi)othernnattersrelatedorancillary to thefbregoing.'l-hereisnojustreason for
  delay in the entry of this C lass Judgm ent,and im m ediate entry by the Clerk of the Court is

  expressly directed.
         DO N E AN D O R D ER ED in Chalubers in q/est I3alm Beach. Palm Beach County,

   Florida, this /F #dayol- L
                            X o8.z.
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                            .-
                                 .     .
                                           .--a()jg.
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                                             KIX
                                               . N?ïTIlA.MARRA                     --------'
                                             UN l'l'ED S'I-A '
                                                             FES D ISTRICT CO U RT JUD G E

   Copiesfurnished to:
    Counselofrecord
